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                               EXHIBIT" A"
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     Kevin J. Mirch, Bar No. 106973                                                 ELECTRotliCALLY FILED
     Marie C. Mirch,Bar No. 200833                                                   Superior Doutt of Oalifomia.
 2   Erin E. Hanson, Bar No. 272813                                                      County of San Diego
     MIRCH LAW FIRM LLP                                                              02'113t2015 at 08;00;00 #Ui
 3   750 B. St., Suite 2500
   San Diego, CA 92101                                                                Clerk ofthe Superior Gourt
                                                                                   By A:lriane Bennett,Deputy Clerk
 4 (619)501-6220 tel.
   (619)501-6980 fax
 5
     Attorneys/or Plaintiff
 6
 7
 8                          SUPERIOR COURT OF TIIE STATE OF CALIFORNIA
                               IN AND FOR THE COUNTY OF SAN DIEGO
 9
10                                                       )
     CARL HAYNES,                                                  Case No. 37·2D16·DDOD4B67·CU·Wf·CTL
11                                                                                                                    f
                                                                                                                      !
                    Plaintiff,                                     COMPLAINT FOR DAMAGES
12          vs.                                                                                                       I
                                                                                                                      W


13
14
     HOME DEPOT U.S.A. INC .. ; DOES 1-10,                         IMAGED FILE
                                                                                                                      I
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                                                                                                                      I
                    Defendant.                                     Demand for Jury Trial
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18
             Plaintiff, by and through, his attorney of record, Mitch Law Finn, alleges as follows:
                                                                                                                      II
19                                                                                                                    I
                                             Preliminary Provisions:                                                  i
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20                                                                                                                    ~

            1. Plaintiff, Carl Haynes, at all times relevant hereto was a resident of the County of San Diego,
21
22   State of California.                                                                                             II
            2. Defendant, Home Depot U.S.A. Inc. (herein after referred to as "Home Depot" and/or "HD"),
23                                                                                                                    I
24   was at aU times relevant hereto, a resident of San Diego County, State of California.
            3. Plaintiff is ignorant of the true names and identities of Does '1-10, but none the less, sues the
                                                                                                                      I
                                                                                                                      !
25                                                                                                                    I
26   same as if more fully set forth herein. At such time as the true names and identities are known, Plaintiff

27   will seek leave to amend this complaint.
            4. Whenever the tenn Defendant is used without specific exclusion of any other Defendant, then
28
     COMPLAINT FOR DAMAGES                                   -1-
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 1 all the Defendants are included in that term. This applies even if the tenn "Defendant" is used in the
 2   singular or the plural. Whenever the term "Home Depot" is used it refers to all the Defendants, unless
 3 othelWise stated.
 4                                               Factual Allegations
 5          5. Plaintiff, Mr. Haynes (hereinafter referred to sometimes as "Plaintiff'), worked for Home
 6 Depot for 26 years before being wrongfully terminated. The term "wrongfully telminated" includes, but
 7   is not limited to all the conduct included herein.
 8          6. Plaintiff, entered into three employment contracts with Home Depot. Those contracts were
 9 written, oral and implied by the conduct of the parties. The fITst contract was entered into in or around
10   February 2, 1987. The first written contract consisted of the employee handbook which was amimded
11   several times through Plaintiffs tenure with Home Depot. The Home Depot Employee Handbook was
12   amended by new handbooks, as well as mUltiple and single page written memoranda which were
13   provided to the Plaintiff. The Home Depot Handbook was also amended by oral promises made by
14 Home Depot Management.
15          7. Oral contracts were regularly made which consisted of promises made by management
16   directly to Plaintiff. Plaintiff thereafter relied upon those promises and written memoranda issued by
17   Home Depot when staying at Home Depot instead of accepting employment at other competing
18   businesses.
19          8. A number of representations were made that induced Plaintiff to continue his employment at
20   Home Depot for 26 years.
21          9. Plaintiff had outstanding reviews throughout his employment with Home Depot.
22           10. At all times relevant hereto, Plaintiffs departments were perfonning above expectations
23   which made Plaintiff eligible for raises, bonuses and promotions. The promotions included, but were
24   not limited to, store manager, district manager and other top level management positions in California as
25   well as Atlanta, Georgia.
26           11. Mr. Haynes was wrongfully terminated after 26 years of employment at Home Depot
27   because, in part, his age. HD had a policy to terminated employees over a certain age who had been with
28   the company for a significant amount of time and making high salaries.

     COMPLAINT FOR DAMAGES                                ·2·




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                                                                                                                  I
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                                                                                                                  I   I




 1           12. Mr. Haynes was replaced with a lower paid, younger employee. Mr. Haynes was harassed,
                                                                                                                  !
 2   discriminated against, and retaliated against because, in part, his age.
 3
 4
             13. Mr. Haynes was falsely written up and terminated by Mr. Grooms and Mr. Collins because he
     refused to quit despite being subjected to improper work practices. At the time of his termination, Mr.
                                                                                                                  I
 S Haynes was 62 years old. Plaintiff's date of birth is January 29, 1951. Mr. Haynes was falsely accused
 6   of "poor work performance" among other things.
 7           14. Plaintiff received false writeups for incidents that happened weeks prior to th~ wl'iteups.
 8 Def~ndant never spoke to Plaintiff when the alleged incidents occurred, Plaintiff onlyreceived
 9 unexpected writeups weeks later.
10           15. Approximately six months prior to Plaintiff's tennination, Plaintiff was told by manager
11   Sheila that she spoke with AACG and they had enough to terminate him, but they were not going to
12   terminate him.
13           16. The day that.Plaintiffwas terminated, he had been off on vacation for five days. Plaintiff was
14   set to return on a Wednesday. Plaintiff called Mr. Collins on Sunday (during his five day weekend) to
15   ask ifhe should come in for the Monday meeting. Mr. Collins had previously told Plaintiff that it was a
16   waste of time for Plaintiff to come in during the week ifhe was gone on Monday because Mondays are
17   the days where they have a meeting to go over what happened the week prior and what would be
18   happening in the current week. Plaintiff asked Mr. Collins if he should come in on the Monday during
19   his vacation and Mr. Collins said no. Mr. Collins then texted Plaintiff and told Plaintiff to not come to
20   work on Wednesday. Mr. Collins told Plaintiff to come to the Dish;ct office to meet with Mr. Grooms
21   arid Mr. Collins. Plaintiff knew he was either being tenninated or moved to a distant location as a
22   method to force Plaintiff to quit.
23           17. Mr. Haynes experienced emotional distress from the date of the text message on Sunday
24   through Wednesday. On Wednesday Plaintiff met with Mr. Collins and Mr. Grooms as he was
25   instructed to do. Mr. Collins came into the room and said "we are going to let you go." Plaintiff asked
26   what prompted his termination, and Mr. Collins said they were not going to discuss it. Mr. Collins
27   refused to tell Plaintiff why he was terminated. Plaintiff asked about his insurance because his wife had
28   cancer that was going to be removed that coming Friday. Mr. Collins told Plaintiff to call Atlanta.

     COMPLAINT FOR DAMAGES                                 -3-
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  1   Plaintiff asked for Atlanta's phone number and Mr. Collins stated that he did not have it, but to call
                                                                                                                   I
  2
  3
      Sheila to get it. The reason for Plaintiff's termination on HD's paperwork was as follows: "Associates
      are expected to come to work prepared to fulfill their job responsibilities and duties with proficiency,     I
  4   competence and expertise. They are expectedto exhibit a willingness and ability to deliver excellent
  5
  6
      customer service. When performance falls below expectations or is inconsistent, the Company has a duty
      to address the concern. Over the last six months Carl bas had several performance conversations with         I
                                                                                                                   i

  7   his Store Manager and District Manager. Carl has not shown a sustainable improvement in his execution
  8
  9
      around staying in stock, executing tasks and developing his direct reports. Based on the Company1s
      investigation, it has been determined that this performance fell below the standards expected for job
                                                                                                                   II
 10 performance." This is false. Mr. Haynes 2012 Performance Review summary stated that Plaintiff was a            i
 11   valued performance and a "well-positioned" performer. Mr. Haynes was given a raise for his 2012              I
                                                                                                                   !
 12
 13
      performance and given a $18,000 bonus.
              18. The day after Plaintiff was terminated, Mr. Collins asked to meet Plaintiff somewhere other      I
                                                                                                                   r
                                                                                                                   1
 14   than the store to return his keys. Mr. Collins told Plaintiff to not come to the store for three to four     ,
 15   weeks. Plaintiff met Mr. Collins outside of the store to return his keys. Mr. Collins told Plaintiff, "You
                                                                                                                   I
16    are really not a bad guy." This comment confused Plaintiff because he didn t know who had ever said
                                                                                      I
                                                                                                                   II
                                                                                                                   !
 17   that he was a bad guy. Mr. Collins brought Plaintiff his belongings from his cabinet because Plaintiff
                                                                                                                   I
18
19
      was not permitted in the store:
             19. Plaintiff was wrongfully losing five weeks of vacation per year because HD made a new
                                                                                                                   I
20    policy that employees could only use eight weeks of vacation per year. This resulted in older employees      !
21
22
      losing their accumulated vacation time.
             20. After Mr. Haynes employment with HD ended, Mr. Grooms [HD's district manager] held a
                                                                                                                   II
23    meeting where he spoke to HD Department Heads and other employees at the Santee HD store and                 i
                                                                                                                   i,
                                                                                                                   !
24    discussed the reason for Mr. Haynes' termination. Mr.      Groom~   told HD employees that Plaintiff could
-25   not keep up with the new lID practices. Many employees were crying and very upset over Plaintiffs            I
26    termination during the meeting. Mr. Grooms defamed Mr. Haynes at this meeting and gave false reasons
                                                                                                                   {
                                                                                                                   ,!
                                                                                                                   ~

27    for Mr. Haynes' termination. Mr. Collins, the Home Depot Santee Store manager, admitted to Mr.               I
                                                                                                                   ~



28 Haynes that he was in fact being targeted and that was the reason behind the multiple false write ups.          [
                                                                                                                   Ii
      COMPLAINT FOR DAMAGES                                -4-                                                     l
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     1            21. At the time it was occurring, Mr. Haynes did not understand why he was being discriminated
 2        against, retaliated against, and harassed. Mr. Haynes did not learn of the facts of Rome Depot's unlawful
 3        acts until more than one year after his termination.
 4               22. Mr. Haynes first obtained knowledge of the facts of Rome Depot's unlawful conduct in
 5       approximately March of2014. Mr Haynes has been unable to obtain employment from the date of his
 6       te1mination until the present. Mr. Haynes made approximately $78,000.00 at the date of his termination,
 7       not including year bonuses that equaled approximately $12,000.00 to $15,000.00. HD had a policy to
 8       terminate "older employees" because oflarge accumulations of vacation and overtime and their larger
 9       salaries. Moreover, HD failed to pay overtime/vacation to Mr. Haynes as is required by California and
10       Federal statutes. Mr. Haynes was only acquiring vacation at 40 hours per week instead of 55+ hours per
11       week. Mr. Haynes was working over 55 hours per week and was not compensated for the time over 40·
12       hours that he worked.
13               23. Plaintiff was replaced by a younger manager in his 20s or early 30s.
14              24·. Plaintiff has tried to get employment since his termination but employers see that he is in his
15       sixties and do not call him back. Plaintiff has turned in several applications for empLoyment including
16       Lowe's, TrueValue, and Dixieline. Employees see that Plaintiff was a handyman for 20 years and
17       employed for 26 years at lID arid they know he is older. As of the date of this complaint, Plaintiff is still
18 .unemployed and looking for employment.
19                                             FIRST CLAIM FOR RELIEF
20                                                   Breach of Contract
21                                            (Against Home Depot USA, Inc.)
22               25. Plaintiff incorporates by reference all the allegations of this complaint as if more fully set
23       forth herein.
24               26. On or about 1987, the parties entered into a written contract for employment (i.e., Contract).
25       Implicit in the contract of employment was Home Depot's obligation to follow all state, federal, and/or
26       industry rules (including its own compliance rules & regulations), regulations and statutes regarding its
27       employment practices. This contract was amended through oral and implied conduct which created
28       additional terms including that Plaintiff was not an at-will employee. HD created procedures that were
         COMPLAINT FOR DAMAGES                                   -5-
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 1   required to be followed before it could terminate an employee. These procedures were not followed

 2   before the Plaintiff was tenninated.
3           27. Home Depot breached the Plaintiff's employment contract. Defendant breached the contract

 4   in the following manner:
 5
 6
                    a. Plaintiff's wages. Home Depot failed, refused and/or neglected to pay Plaintiff his
     earned bonus after he was terminated. Home Depot promised Plaintiff continuously and provided
                                                                                                                   II
                                                                                                                   !


 7   Plaintiff with documentation which showed its promises that bonuses would be available and paid for,          !
 8
 9
     but refused andlor neglected to pay for such. HomeDepot did not pay overtime amounts due to Plaintiff
     in accordance with state and federal rules, regulations and statutes. Plaintiff worked hundreds of unpaid
                                                                                                                   I
                                                                                                                   !
                                                                                                                   I
10   hours because of "employment tricks" which avoided state and federal statutes (e.g., working 2 days           i
11   without a legitimate break by giving them a break 5 minutes before midnight and then making                   Ii
12   employees start back to work 5 minutes after mid night. Home Depot encouraged violations of the "fifth        iI
13   hour" rule. Associates were encouraged ("told to work offthc clock") and promised promotions based
14   upon doing such and not disclosing the same. Associates were often required to work 7 days a week and

15   not paid double time.
16                  b. Due Process. Home Depot wrongfully terminated Plaintiff in violation of the due
17   process requirements spelled out in the ,employment manual and other written documents. HD falsely
18   stated in Plaintiffs termination notice that the matter resulting in termination had been investigated.

19   There was in fact no investigation conducted by HD.
20                  c. Wrongful Termination. Home Depot wrongfully terminated Plaintiff in violation of

21   the due process requirements spelled out in the employment manual and other written documents.
22   regularly assured Plaintiff that he could not be terminated without having a legitimate reason and due
23   process to prevent false allegations being the cause of a termination. In this case, false allegations were
24   used to justify Plaintiff's termination. Those false allegations were used by HD to conceal its true
25   intentions of discrimination against and retaliating against male employees over the age of 40.
26                  d. Requiring Plaintiff to work in a discriminatory and retaliatory workplace. Home
27   Depot encouraged its upper level managers to create false documentation in older employee's files in
28   order to wrongfully justify their terminations. This conduct was used against the Plaintiff to illegally

     COMPLAINT FOR DAMAGES                                -6-
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      tenninate the Plaintiff.
  2                   e. Breach of employment terms. Home Depot failed to follow its procedures in place
  3   for tennination. Home Depot failed to provide a discrimination free and retaliation free workplace.
  4   DefeJ?dant failed to pay Plaintiff his appropriate wages including overtime. HD incorrectly labeled
  5 Plaintiff as an overtime exempt employee when in fact he was not exempt and should have been
  6   compensated for his overtime. HD wrongfully took Plaintiff's earned vacation away from him without
  7   compensation him for such. HD failed to pay Plaintiff his earned bonuses which are continuously
  8 promised to Plaintiff on documents. Home Depot failed to investigate the matters which allegedly led
  9   to Plaintiff's tennination. Had HD properly investigated, it would have detennined that Plaintiff was
 10   being targeted due to his age and gender in order to cut costs and eliminate his high paying salary.
 11                  f. Breach of ~mployment terms regarding Plaintiff's retirement stock plan. Home
 12   Depot misrepresented to Plaintiff that he was being compensated for the extreme hours that he was
 13   forced to work through bonuses and stock. HD greatly overstated the value of the stock plans in order to
 14   induce Plaintiff to continue to work the long hours for Home Depot.
 15                  i. Job Duties: Plaintiff was hired as an assistant store manager (ASM) and given certain
16 job duties. The job duties were false because Plaintiff was required to do hourly associates' duties. HD
17    did not allow hourly associates to work overtime except in extreme circumstances. Plaintiff would be
18    scolded if even 15 minutes of overtime w.as allowed. Plaintiff was required to do the leftover hourly
19    associates' work in order to get things done. HD intentionally hired less hourly associates than what
·20   was required to complete the work as a method to keep costs down. lID would then required the
21    salaried managers to do the hourly associate's work and avoid having to pay overtime. Mr. Collins told
22    Plaintiff that Mr. Grooms instructed him to work 24 hours a day if it was necessary to get the work done.
23    Mr. Grooms justified this instruction by saying that Plaintiff was a salaried manager and therefore was
24    required to wok all the hours necessary to get the job done.
25           28. The contract was evidenced by the transfer of adequate legal consideration between the
26    respective parties and amended by oral promises, wdtten updates and conduct which implied additional
27    or different terms and conditions. Plaintiff relied upon the implied and oral statements in continuing to
28    work for Home Depot. Without those oral promises and implied conduct, Plaintiff would have gone to
      COMPLAINT FOR DAMAGES                               -7-
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 1   work for another store.
 2             29. Plaintiff has satisfied all the terms and conditions of his written, oral and implied contracts
 3   with Home Depot.
 4             30. Home Depot's breaches are material and Plaintiff would not have gone to work for Home
 5   Depot had he known that his written, oral and implied contracts were not going to be followed.
 6             31.Plaintiff has requested that the breaches be cured on several occasions.
 7             32. Defendant has failed, refused and/or neglected to cure the breaches even though Defendant
 8   has been notified of the same and specifically requested that the same be cured.
 9             33. As a direct and proximate cause of the breach of contract of Defendant, Plaintiff has been,
10   and will be in the future, prevented from earning maximum profits from the operation of his business.
11   The exact amount of the lost profits and loss of future earnings is thus far undetermined and accordingly,

12   will be proven at the time of trial.
13             34. As a result of material breach of contract, Plaintiff has retained an attorney in order to
14   prosecute this action and as a consequence Plaintiff is entitled to reasonable attorney fees and costs

15   related thereto.
16             35. As a result of Defendant's breach of contract, Plaintiff has been damaged substantially in

17   excess of$100,000.
18             WHEREFORE, Plaintiff prays for reHefas set forth below:

19
20                                          SECOND CLAIM FOR RELIEF
21                              Breach ·of Covenant of Good Faith and Fair Dealing
22                                          (Against Home Depot USA, Inc.)
23             36. Plaintiff incorporates by reference all the previous paragraphs as if more fully set forth

24   herein.
25             37. The parties had a special relationship that required reliance upon the representations and
26   conduct of each other. The reliance which eventually lead to performance by the Plaintiff was as a

27   result of that same relationship and was reasonable.
28             38. On or about 1987, the parties entered into a contract for employment. Implicit in the contract

     COMPLAINT FOR DAMAGES                                  ·8·
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     1    of employment was Home Depot's obligation to follow all state, federal, and industry rules and
 2       regulations regarding its employment practices.
 3               39. As described above, Defendant intentionally breached a number of the contract provisions.
 4       Defendant never intended to comply with the terms and conditions of the contract. Plaintiff relied upon
 5       the Defendants' promises.
 6               40. The breaches of the covenant of good faith and fair dealing are material and intentional.
 7               41. All contracts are subject to a covenant of good faith and fair dealing. In every contract there
 8       is a covenant of good faith and fair dealing.
 9               42. Plaintiff has requested that the breaches be cured on several occasions.
10               43. Defendant has failed, refused and/or neglected to cure these breaches of the covenant of good
11       faith and fair dealing without excuse.
12               44. Defendant has intentionally violated the implied covenant of good faith and fair dealing. The
13       breach is tortious.
14               45. As a direct and proximate result of the breach of the implied covenant of good faith and fair
15       dealing of Defendant, Plaintiff has been, and will be in the future damaged. The exact amount of the
16       lost earnings and loss of future earnings is thus far undetermined and accordingly, will be proven at the
17       time of trial. As a further proxim~te result of the breach of the covenant of good faith and fair dealing by
18       Defendant, Plaintiff has suffered physical and mental pain and suffering and will continue to suffer
19       therefrom in the future.
20              46. Plaintiff has retained an attorney to prosecute this action and as a consequence Plaintiff is
21       entitled to reasonableattomey fees and costs related thereto.
22              47. Defendant acted maliciously by terminating or deciding to terminate Plaintiff and refusing
23       to pay his "sick leave time" which was directly caused by having to work in an environment of open and
24       notorious fraud. The fraud had created a criminal environment (e.g., having to purchase cocaine and
25       other drugs in order retain Plaintiffs job and to "climb up the ladder").
26              48. As a result of Defendant's breach of the implied covenant of good faith and fair dealing,
27       Plaintiff has been damaged substantially in excess of$lOO,OOO.
28              49. In breaching the covenant of good faith and fair dealing, Defendant acted with malice' and

         COMPLAINT FOR DAMAGES                               -9-
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 1   exhibited a reckless disregard for the rights of the Plaintiff. Therefore, Plaintiff is entitled to punitive
                                                                                                                    I
 2   damages in an amount to be detennined at the time of trial.                                                    I
                                                                                                                    I
                                                                                                                    I
 3          WHEREFORE, Plaintiff prays for relief as set forth below.
 4
                                           THIRD CLAIM FOR RELIEF
                                                                                                                    II
 5
                                  Fraudulent Misrepresentation/False Promises
 6
 7
                                     (AGAINST HOME DEPOT U.S.A. INC.)                                               I
 8          50. Plaintiff incorporates by reference all the previous paragraphs as if more fully set forth          !
 9   herein.'
                                                                                                                    I
10
11
            51. Defendant made the following statements in order to induce the Plaintiff to enter into the
     above contract:
                                                                                                                    II
12          52. Home Depot made promises to induce Plaintiff to go to w~rk and continue to work for
13
14
15
     Home Depot which Home Depot did not honor. Each of these representations were false. These
     representations were made by various HD managers and district managers and continued to be made up
     to the time of Plaintiffs tennimition.
                                                                                                                    I
                                                                                                                    I
16          a. Plaintiff was told that certain procedures were in place which must be followed before an            II  ~

17   employee could be tenninated. Plaintiff was told this by his managers and saw this practice in the                 I
                                                                                                                        !
18   business. He as an .
                        ASM could
                              )
                                  not terminate individuals without fo Hawing procedures: counseHng,,               I
19 'verbal warnings, written warnings, etc.                                                                             !
20          b.Plaintiffwas told verbally and in writing in the handbooks that. Home Depot did not                       II
21   discriminated against its employees. This was false as Home Depot which was required to promote                    i

22   women before men because of previous years of discrimination against women. Plaintiff was not against
23
24
     qualified women and racial minorities from being promoted, but against reverse discrimination against
     himself. Defendants also discriminated against individuals over the age of 40.
                                                                                                                        I
                                                                                                                        !
25          c. Home Depot did not follow procedures it represented that existed in the daily operations of
                                                                                                                        I~
                                                                                                                        II
26   HomeDepot (safety rules; due process for discipline rules; review of associates; payment for medical
27   leave; time payment of bonuses, etc).                                                                              II
28          d. Home depot represented that promotions were given; however, Home Depot promotions were                   I;
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     COMPLAINT FOR DAMAGES                                 -10-
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Case 3:15-cv-01038-CAB-JLB Document 1-2 Filed 05/08/15 PageID.21 Page 12 of 28




     1 often based upon nepotism not performance; Plaintiff was originally hired in 1987 as an ASM, he was
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                                                                                                                      !

 2
 3
        promoted as a store manager for about 1.5 years and then demoted when he was 41. Plaintiff was
        allowed to interview for a store manager position in the mid 1990s, when he was about 45 years old, and
                                                                                                                      I
                                                                                                                      f

 4      was not offered the position, instead the position went to a less experienced female employee. After          !
                                                                                                                      !

 5
 6
        Plaintiff was 45 years old for the next 20 years of his employment with HD, Plaintiff was never offered
        or allowed to interview for a promotion despite being told by other store managers that he should be a        II
 7 store manager.
 8              e. H<;>mc Depot established a corporate culture which encouraged improper and sometimes illegal       I
                                                                                                                      ~


                                                                                                                      I
 9
10
        conduct in order to increase profits or establish relations that should not have been permitted (i.e. age
        discrimination, overstating stock values, etc);                                                               I
                                                                                                                      ,
                                                                                                                      ~
                                                                                                                      f
11             f. Home Depot represented that it would pay Plaintiff in accordance with state laws and                !
12      regulations. Home Depot did not pay overtime amounts due to Plaintiff in accordance with state and            I
13      federal rules, regulations and statutes. Plaintiff was required to do hourly associate duties.                II
                                                                                                                      ~
14             g. Home Depot represented that Plaintiff would receive 5 weeks of vacation per year after he           !
                                                                                                                      i
15      worked at HD for 20 years. This was not true. Plaintiff was not allowed to actually take his vacation
16      because when he went on vacation, he was improperly written up. Additionally, when he went on
17      vacation ther.e was no one available to do his job duties so his perfonnance suffered. In reality Plaintiff   I
18
19
        was not allowed to take 5 weeks vacation per year because HD did not provide the support necessary
       when Plaintiff was on vacation.
                                                                                                                      I
                                                                                                                      i
20             h. HD represented that Plaintiff would have certain job duties as an ASM. The job duties were          I
21     false because Plaintiff was required to do hourly associates' duties. HD did not allow hourly associates       i
22     to work overtime except in extreme circumstance~. Plaintiff would be scolded if even 15 minutes of
                                                                                                                      I
                                                                                                                      !
23     overtime was allowed. Plaintiff was required to do the leftover hourly associates' work in order to get        I
                                                                                                                      ~
                                                                                                                      i
                                                                                                                      ~
24     things done. HD intentionally hired less hourly associates than what was required to complete the work         j

                                                                                                                      I
25     as a method to keep costs down. HD would then required the salaried managers to do the hourly                  ~

26
27
       associate's work and avoid having to pay overtime. Mr. Collins told Plaintiff that Mr. Grooms
       instructed him to work 24 hours a day if it was necessary to get the work done. Mr. Grooms justified
                                                                                                                      II
28     this instruction by saying that Plaintiff was a salaried manager and therefore was required to wok all the     i
                                                                                                                      K


       COMPLAINT FOR DAMAGES                                -11-                                                      I
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                                                                                                                      I
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     1    hours necessary to get the job done.                                                                           !
     2            i. AMS, including Plaintiff, were often required to work 7 days a week and not paid double time;


                                                                                                                         I
     3           j. Home Depot represented that the employee review process was fair. That representation was
  4       false as the "round table" was used as a means of justifying wrongful terminations or protecting certain
                                                     <'
  5       store managers from justifiably poor reviews.
                                                                                                                         f
  6              k. The company set up budgets for monetary, reviews, etc., in advance of their true evaluations.        t
                                                                                                                         !
                                                                                                                         I
  7      This resulted in wrongful tenninations and incorrect management decisions being made based upon                 i
                                                                                                                         !
  8      artificial standards and untruthful determinations of associates and other employees. work.                     f
  9              1. Moreover, HD failed to pay overtime/vacation to Mr. Haynes as is required by Califomia and           I
 10      Federal statutes. Mr. Haynes was only acquiring vacation at 40 hours per week instead of 55+ hours per
 11
 12
         week. Mr. Haynes was working over 55 hours per week and was not compensated for the time over 40
         hours that he worked. Mr. Haynes was told that the extra hours would be paid in vacation time, stock,
                                                                                                                         II
13       and bonuses however this was false and Mr. Haynes was never compensated for the overtime hours.
                                                                                                                         I
14
15
                 53. The Defendant's representations were false.
                 54. Defendant made the representations intentionally in order to induce Plaintiff to enter into the
                                                                                                                         !f
                                                                                                                         I

16       contract. These representations i~clude, but are not limited to the following:                                  f
                                                                                                                         !

17               55. Plaintiff relied upon Defendant's statements in entering into the contract.
18.              56. Plaintiffs reliance upon Defendant's misrepresentations was reasonable.
19               57. As a direct and proximate result of the Defendant's Fraudulent Misrepresentations, Plaintiff
20       has been, and will be in the future, prevented from earning maximum profits from his employment. The
21       exact amount of the lost earnings and loss of future earnings is thus far undetermined and accordingly,
22       will be proven at the time of trial. As a further proximate result of the fraudulent misrepresentations by
23       Defendant, Plaintiff has suffered physical and mental pain and suffering and will continue to suffer
24       therefrom in the future.
25               5.8. As a result of Defendant's improper conduct, Plaintiff has been damaged substantially in
26       excess of$100,000.00.
27              59. Plaintiff has retained an attorney in order to prosecute this action and accordingly, Plaintiff is
28       entitled to reasonable attorney fees and costs related thereto.

         COMPLAINT FOR DAMAGES                                -12-
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 1             60. In committing the acts herein mentioned, Defendant acted arbitrarily, capriciously,
 2   maliciously and with reckless disregard for Plaintiff and accordingly Plaintiff is entitled to punitive
 3   damages in an amount to be determined at the time of trial.
 4             WHEREFORE, Plaintiff prays for relief as set forth herein.
 5
 6                                         FOURTH CLAIM FOR RELIEF
 7                                            Negligent Misrepresentation

 8      (AGAINST HOME DEPOT U.S.A. INC.jBERNARD POWERS; RUDY PERALTAj BRIAN
 9    KORHUMMELj FRANKLOCOCO; WILLIAM PAYETTE; SHEILA. JORGENSONj SIKA
10                                             DOE; RICHARD TlMM)
11
               61. Plaintiff incorporates by reference all the previous paragraphs as if more fully set forth
12
     herein.
13
               62. Defendant made the following statements in order to induce the Plaintiff to enter into the
14
     above contract:.
15
               63. Home Depot made promises to induce Plaintiff to go to work and continue to work for
16
     Home Depot which Home Depot did not honor. Each of these representations were false. Each of these
17
     representations were false. These representations were made by various HD managers and district
18
     managers and continued to be.made up to the time of Plaintiffs termination.
19
               a. Plaintiff was told that certain procedures were in place which must be followed before an
20
     employee could be terminated. Plaintiff was told this by his managers and saw this practice in the
21
     business. He as an ASM could not terminate individuals without following procedures: counseling,
22
     verbal warnings, written warnings, etc.
23
               b.Plaintiffwas told verbally and in writing in the handbooks that Home Depot did not
24
     discriminated against its employees. This was false as Home Depot which was required to promote
25
     women before men because of previous years of discrimination against women. Plaintiff was not against
26
     qualified women and racial minorities from being promoted, but against reverse discrimination against
27


     COMPLAINT FOR DAMAGES                                  ·13·
Case 3:15-cv-01038-CAB-JLB Document 1-2 Filed 05/08/15 PageID.24 Page 15 of 28




 1           c, Home Depot did not follow procedures it represented that existed in the daily operations of
 2   Home Depot (safety rules-; due process for discipline rules; review of associates; payment for medical
 3   leave; time payment of bonuses, etc),
 4           d. Home depot represented that promotions were given; however, Home Depot promotions were
 5   often based upon nepotism not performance; Plaintiff was originally hired in 1987 as an ASM, he was
 6   promoted as a store manager for about 1.5 years and then demoted when he was 41. Plaintiffwas
                             \


 7   allowed to interview for a store manager position in the mid 1990s, when he was about 45 years old, and
 8   was not offered the position, instead the position went to a less experienced female employee. After
 9   Plaintiff was 45 years old for the next 20 years of his employment with HD, Plaintiff was never offered
10   or allowed to interview for a promotion despite being told by other store managers that he" should be a
11   store manager.
12           e. Home Depot established a corporate culture which encouraged improper and sometimes illegal
13   conduct in order to increase profits or establish relations that should not have been pelmitted (i.e. age
14   discrimination, overstating stock values, etc);
15          f. Home Depot represented that it would pay Plaintiff in accordance with state laws and
16   regulations. Home Depot did not pay overtime amounts due to Plaintiff in accordance with state and
17   federal rules, regulations and statutes. Plaintiff was required to do hourly associate duties.
18          g. Home Depot represented that Plaintiff would receive 5 weeks of vacation per year after he
19   worked at HD for 20 years. This was not true. Plaintiff was not allowed to actually take his vacation
20   because when he went on vacation, he was improperly written up. Additionally, when he went on
21   vacation there was no one available to do his job duties so his performance suffered, In reality Plaintiff
22   was not allowed to take 5 weeks vacation per year because HD did not provide the support necessary
23   when Plaintiff was on vacation.
24          h. HD represented that Plaintiff would have certain job duties as an ASM. The job duties were
25   false be,cause Plaintiff was required to do hourly associate duties. HD did not allow hourly associates to
26   work overtime except in extreme circumstances. Plaintiff was required to do the leftover hourly
27   associates' work in order to get things done. HD intentionally hired less hourly associates than what
28   was required to complete the work as a method to keep costs down, HD would then required the

     COMPLAlNT FOR DAMAGES                               -14-
 Case 3:15-cv-01038-CAB-JLB Document 1-2 Filed 05/08/15 PageID.25 Page 16 of 28




      1 salaried managers to do the hourly associate's work and avoid having to pay overtime. Mr. Collins told
      2    Plaintiff that Mr. Grooms instructed him to work 24 hours a day if it was necessary to get the work done.
      3 Mr. Grooms justified this instruction by saying that Plaintiff was a salaried manager and therefore was
   4      required to wok all the hours necessary to get the job done.
    5             i. AMS, including Plaintiff, were often required to work 7 days a week and not paid double time;
   6              j. Home Depot represented that the employee review process was fair. That representation was
   7      false as the "round table" was used as a means of justifying wrongful tetminations or protecting certain
   8      store managers from justifiably poor reviews.
   9              k. The company set up budgets for monetary, reviews, etc., in advance of their true evaluations.
  10      This resulted in wrongful terminations and incorrect management decisions being made based upon
  11      artificial standards and untruthful detetminations of associates and other employees work.
.. 12             1. Moreover, HD failed to pay overtime/vacation to Mr. Haynes as is required by California and
  13      Federal statutes. Mr. Haynes was only acquiring vacation at 40 hours per week instead of 55+ hours per
  14      week. Mr. Haynes was working over 55 hours per week and was not compensated for the time over 40
  15      hours that he worked. Mr. Haynes was told that the extra hours would be paid in vacation time, stock,
  16      and bonuses however this was false and Mr. Haynes was never compensated for the overtime hours.
  17              64. The Defendant's representations were false.
  18              65. Defendant made the representations intentionally in order to induce Plaintiff to enter into the
  19      contract. These representations include, but are not limited to the following:
 20               66. Plaintiff relied upon Defendant's statements in entering into the contract.
 21               67. Plaintiffs reliance upon Defendant's misrepresentations was reasonable.
 22              68. As a direct and proximate result of the Defendant's Fraudulent Misrepresentations, Plaintiff
 23       has been, and will be in the future, prevented from earning maximum profits from his employment. The
 24       exact amount of the lost earnings and loss of future earnings is thus far undetermined and accordingly,
 25       will be proven at the time of trial. As a further proximate result of the fraudulent misrepresentations by
 26       Defendant, Plaintiff has suffered physical and mental pain and suffering and will continue to suffer
 27       therefrom in the future.
 28              69. As a result of Defendant's improper conduct, Plaintiff has been damaged substantially in
          COMPLAINT FOR DAMAGES                               ·15·
Case 3:15-cv-01038-CAB-JLB Document 1-2 Filed 05/08/15 PageID.26 Page 17 of 28




 1   excess of $100,000.00.
 2             70. Plaintiff has retained an attorney in order to prosecute this action and accordingly, Plaintiff is

 3   entitled to reasonable attorney fees and costs related thereto.
 4             71. In committing the acts herein mentioned, Defendant acted arbitrarily, capriciously,
 5   maliciously and with reckless disregard for Plaintiff and accordingly Plaintiff is entitled to punitive

 6   damages in an amount to be determined at the time of trial.
 7             WHEREFORE, Plaintiff prays for relief as set f01th herein.

 8
 9                                          FIFTH CLAIM FOR RELIEF
10                                  Claim for Wages under California Labor Code
11                                          (Against Home Depot USA, Inc.)
12             72. Plaintiff incorporates by reference all the previous paragraphs as if more fully set forth

13   herein.
14        . 73. Plaintiff worked 45-50 hrs. at least, sometimes over night. 10 hour shifts 5 days a week

15   sometimes 6 days a week. Defendant misclassified Plaintiff as an exempt employee.
16             74. Under California's overtime pay laws, an employee is entitled to be paid overtime pay at a .

17   rate of time and one half for: (1) each hour worked over eight in a single workday; (2) each hour worked
                  ,
18   over forty in a single workweek, and (3) the first eight hours worked on the seventh day of work in any
19   workweek. California's overtime pay laws also require employers to pay employees who work in
20   California double time for: (1) each hour worked over twelve in a single day and (2) each hour worked
21   over eight on the seventh consecutive day of work in any given workweek. Employers who fail to adhere

22   to California's oveltime pay laws can be assessed a number of penalties that will far exceed the actual

23   amount owed to any terminated employee seeking back overtime pay wages owed.
24             75. Pursuant to California Labor Code § 1194, "Notwithstanding any agreement to work for a

25   lesser wage, any employee receiving less than the legal minimum wage or the legal overtime
26   compensation applicable to the employee is entitled to recover in a civil action the unpaid balance of the
27   full amount of this minimum wage or overtime compensation, including interest thereon, reasonable

28   attorney's fees, and costs of suit." See Lab. Code, § 1194

     COMPLAINT FOR DAMAGES                                  -] 6-
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 1           76. Plaintiff was required to pay a biweekly salary. Defendant has refused to pay Plaintiff all the
                                                                                                                     I
 2

 3
 4
     amounts due under California law. Home Depot did not pay overtime and did not provide the required

     break periods.
             77.As a result of Defendant's material breach of contract, Plaintiff has been substantially
                                                                                                                     I
                                                                                                                     I
 5   damaged in excess of$100,000.00. The exact amount of these damages will be detennined at trial.
 6           78. Plaintiff has retained an attorney in order to prosecute this action and accordingly are entitled

 7   to reasonable attorney fees and costs related thereto.                                                          i
                                                                                                                     I
 8           WHEREFORE, Plaintiff Plaintiff prays for relief as set forth below:                                     !
                                                                                                                     I
 9

10
                                            SIXTH CLAIM FOR RELIEF
                                                 Wrongful Termination
                                                                                                                     I
11
12
                                           (Against Home Depot USA, Inc.)
             79. Plaintiff incorporates by reference all the previous paragraphs of this complaint as ifmore
                                                                                                                     II
13   fully set forth herein.
14

15
             80. Plaintiff was hired by Defendant on February 2, 1987. Plaintiff undertook and continued

     employment, and duly performed all the conditions of the employment agreement to be performed by the
                                                                                                                     I,
16   Plaintiff. At the time of Plaintiff's termination, he Was ready, willing, and able to perform all the               I!
17   conditions of the oral and implied employment agreement to be performed by the Plaintiff.                           !
                                                                                                                         !
18           81. On February 12, 2013 Defendant breached the total employment agreement by terminating

19   Plaintiff for false, pretextual and defamatory reasons in retaliation for his age, gender, association with

20   those who are over forty, and engaging in a protected activity.
21           82. Plaintiff was not an at-will employee. HD created procedures that were required to be
22   followed before it could terminate an employee. These procedures were not followed before the Plaintiff

23   was terminated.
24           83. Plaintiff was wrongfully terminated in violation ofFEHA.
25           84. Plaintiff incorporates by reference all the "breach allegations" contained in each of the above

26   claims for relief as if more fully set fOlill herein.
27           85. As a direct and proximate result of Plaintiff's disclosure Plaintiff was wrongfully tenninated.

28           86. Plaintiff is entitled to damages incident to his wrongful termination and in that regard has

     COMPLAINT FOR DAMAGES                                   -17-
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                                                                                                                           I
                                                                                                                           t



     1    been damaged substantially in excess of $100,000.00. The exact amount of damages will be determined
 2
 3
          at trial.
                      87. Defendant acted arbitrarily, capriciously and maliciously with reckless disregard for the        I
 4
 5
         Plaintiff and accordingly the Plaintiff is entitled to punitive damages.
                      88. The Plaintiff has retained an attorney in order to prosecute this action and accordingly is
                                                                                                                           I
                                                                                                                           !
 6       entitled to reasonable attorney fees and costs related to the prosecution of the same.                            i
                                                                                                                           I
 7                    WHEREFORE, Plaintiff prays for relief as set forth below.
 8
 9
                                                  SEVENTH CLAIM FOR RELIEF
                                                  Retaliation in Violation of FEHA
                                                                                                                           I
10                                                 (Against Home Depot USA, Inc.)
11
12       forth herein.
                      89. Plaintiff, incorporates by reference aU the allegations of this complaint as if more fully set   I
13                    90. Plaintiff engaged in a protected activity by being over 40, being male, complaining about
14       false writeups and improper conduct including harassment that was occurring at the store which made
15       the store a hostile work environment. Throughout Plaintiff's employment, Home Depot assured
16       employees through statements in the employee handbook and other means of communication that if they
17       took advantage of the company's open-door procedure to complain to management about their
18       supervisors, they would not be penalized. However, Plaintiff was wrongfully terminated and falsely
19       written up after complaining about being targeted and false writeups.
20                91. The day before Plaintiff went on vacation, in February of 2013, Plaintiff's department head
21       Mr. Hamilton c~mplained in a meeting about certain policies that were required by Mr. Grooms. After
22       this meeting Mr. Collins told Plaintiffthat he disliked Mr. Hamilton. Upon information and belief
23       Plaintiff was retaliated against due to his department head's comments, which was against company
24       policy because HD cannot retaliate against employees for complaining about their supervisors.
25                92. Moreover, Plaintiff complained of having issues with his superiors in his review. Shortly
26       thereafter he was tenninated in retaliation for his complaints.
27                93. Plaintiff suffered an adverse employment action (false write ups and tennination) after
28       complained to HD about the false writeups and hostile work environment.

         COMPLAlNT FOR DAMAGES                                    -18-
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 1           94. As a direct and proximate result of the Defendants' conduct, Plaintiff has suffered severe and
 2   serious emotional distress, the specific amount of which will be determined at the time of trial.
 3           95. As a result of Defendants' conduct, Plaintiff has been subjected to cruel and unjust hardship
 4   in conscious disregard of his legal rights. Plaintiff did not anticipate Defendants' wrongful conduct or
 5   the damages he actually sustained as a result of the same. As a result Plaintiff is entitled to current and
 6   future damages.
 7           96. As a direct and proximate result of the Defendants' conduct, Plaintiff has suffered severe and
 8   serious emotional distress, this specific amount of damages will be determined at the time of trial.
 9           97. The conduct of Defendants in harassing and retaliating against Mr. Haynes because of his
10   opposition to the false writeups and harassment, subjected Mr. Haynes to cruel and unjust hardship in
11   conscious disregard of Mr. Haynes's rights, as it was anticipated by Defendants, and each of them, that
12   Mr. Haynes would suffer damages in the foreseeable future.
13          98. Plaintiff has obtained a right to sue letter from California's Department of Fair Employment
14   and Housing. See Exhibit A. Plaintiff was not aware of the retaliatory conduct in violation of FEHA
15   until more than one year after his termination. Plaintiff obtained his right to sue letter in compliance
16   with the 90 day period pursuant to California Government Code section 12960(d)(l).
17          99 ..Upon information and belief, the Defendants' conduct was done with an intent to cause injury
18   to Mr. Haynes. As a consequence ofthe aforesaid oppressive, malicious, and despicable conduct, Mr.            I
19   Haynes is entitled to an award of punitive damages in a sum to be shown according to proof pursuant to        !
20   California Government Code §§12965, 12970.                                                                    I
21
22
            100. Mr. Haynes has incurred and continues to incur legal expenses and attorney fees which he is
     entitled to recover pursuant to California Government Code §12965.
                                                                                                                   II
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23   WHEREFORE, Plaintiffs pray for relief as set forth below.                                                     j
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24                                                                                                                 1
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25                                       EIGHTH CLAIM FOR RELIEF
26    Failure to Prevent Discrimination and Retaliation in Violation of Gov't Code §12940(k) et. seq.
27                                       (Against Home Depot USA, Inc.)
28          101. Plaintiff, incorporates by reference all the allegations of this complaint as if more fully set
     COMPLAINT FOR DAMAGES                               -19-
Case 3:15-cv-01038-CAB-JLB Document 1-2 Filed 05/08/15 PageID.30 Page 21 of 28



                                                                                                                       II
                                                                                                                       I
                                                                                                                       !
  1 forth herein.                                                                                                      I
 2           102. Defendants failed to take immediate and appropriate corrective action to prevent and
 3 remedy the harassment to which Plaintiff and other employees were subjected to, as set forth above.
 4           103. As a direct and proximate result of Defendants' conduct. Plaintiff has sustained and
                                                                                                                       I
                                                                                                                       I
 5
 6
     continues to suffer sever and serious emotional distress, the exact amount will be determined at trial.
             104. The conduct of Defendants harassing Plaintiff because of his opposition to unlawful
                                                                                                                       I!
 7   activity, subjected Plaintiff to cruel and unjust hardship in conscious disregard of Plaintiffs rights. The       I
 8 Defendants anticipated such hardship and knew that Plaintiff would suffer damages. As a consequence                 I,
                                                                                                                       !
 9   ofthe aforesaid oppressive, malicious, and despicable conduct, Mr. Haynes is entitled to an award of              [
10   punitive damages in a sum to be shown according to proof pursuant to California Government Code                   !
                                                                                                                       li
11   §§12965, 12970.
                                                                                                                       ~
                                                                                                                       l
12           105. Plaintiff was not aware of the discriminatory and retaliatory conduct in violation ofFEHA            ~

13
14
     until more than one year after his termination. Plaintiff obtained his right to sue letter in compliance
     with the 90 day period pursuant to California Govermnent Code section 12960(d)(l).
                                                                                                                       I
15
16
             106. Mr. Haynes has incurred and continues to incur legal expenses and attorney fees which he is
     entitled to recover pursuant to California Government Code §12965.
                                                                                                                       II
17   WHEREFORE, Plaintiffs pray for relief as set forth below.                                                         I
18                                         NINTH CLAIM FOR RELIEF                                                      I
                                                                                                                       ~
                                                                                                                       !
19                                 Age Discrimination in Violation of the FEHA
                                                                                                                       I
20
21           107.
                                          (Against Home Depot USA, Inc.)
                     Plaintiff, incorporates by reference all the allegations of this complaint as if more fully set
                                                                                                                       I
                                                                                                                       ?,

                                                                                                                       I
22   forth herein.
23           108. Cal. Gov't Code § 12941 prohibits age discrimination in the workplace.
24           109. At the time Mr. Haynes was terminated he was 62 years old, he was satisfactorily
25   performing his job and had been satisfactorily performing his job for 26 years. Mr. Haynes was
26   terminated because of his age, and because of his gender. Mr. Haynes was replaced bya younger
27   employee.
28           110. Home Depot had a policy to terminate older employees. Mr. Haynes visited the Santee store
     COMPLAINT FOR DAMAGES                                -20-
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  1 after his termination and the older employees had been replaced by younger employees. The employees
  2 that took over Plaintiffs job were paid substantially less then he was paid. During the time Plaintiff
  3    worked for RD, he was regularly told that he was one of the higher paid managers. Plaintiff has
  4 knowledge of other store and assistant store managers at HD who were over forty years of age and
  5 terminated. Such employees include but are not limited to the following: Lex Housh, Dave Diaz, Bill
  6 . Gans, Michael Jngrande, Tammy Aimes, Don McCaskill, and Scott Simon. It was not until more than a
  7    year after my termination that I realized the connection and discovered that I was discriminated against
  8 and retaliated against.
  9             111. As a direct and proximate result of Defendants' conduct. Plaintiff has sustained and
 10    continues to suffer sever and serious emotional distress, the exact amount will be determined at trial.
 11             112. The conduct of Defendants discrimination against the Plaintiff due to his age, subjected
 12    Plaintiff to cruel and unjust hardship in conscious disregard QfPlaintiffs rights. The Defendants
 13    anticipated such hardship and knew that Plaintiff would suffer damages. As a consequence ofthe
 14    aforesaid oppressive, malicious, and despicable conduct, Mr. Haynes is entitled to an award of punitive
 15    damages in a sum to be shown according to proof pursuant to California Government Code §§12965,
 16    12970.
 17             113. Plaintiff was not aware of the discriminatory conduct in violation of FERA until more than
 18    one year after his termination. Plaintiff obtained his right to sue letter in compliance with the 90 day
 19    period pursuant to California Govemment Code section 12960(d)(I).
. 20            114~ Mr. Haynes has incurred and continues to incur legal expenses and attorney fees which he is

 21    entitled to recover pursuant to California Government Code §12965.
 22    WHEREFORE, Plaintiffs pray for relief as set forth below
 23                                         TENTH CLAIM FOR RELIEF
 24                Gender Discrimination in Violation of FEHA and the Unruh Civil Rights Act
 25                                          (Against Home Depot USA, Inc.)
 26             115. Plaintiff, incorporates by reference all the allegations of this complaint as if more fully set
 27    forth herein.
 28             116. Plaintiff is a male. Plaintiff was wrongfully terminated in violation of the FEHA due in part

       COMPLAINT FOR DAMAGES                                 -21-
Case 3:15-cv-01038-CAB-JLB Document 1-2 Filed 05/08/15 PageID.32 Page 23 of 28




 1   to his being male.                                                                                           I
 2            117. As a direct and proximate result of Defendants' conduct. Plaintiff has sustained and
 3
 4
     continues to suffer sever and serious emotional distress, the exact amount will be determined at trial.
              118. The conduct of Defendants discrimination against the Plaintiff due to his age, subjected
                                                                                                                  I
 5
 6
     Plaintiff to cruel and unjust hardship in conscious disregard of Plaintiff's rights. The Defendants
     anticipated such hardship and knew that Plaintiff would suffer damages. As a consequence of the
                                                                                                                  I
 7   aforesaid oppressive, malicious, and despicable conduct, Mr. Haynes is entitled to an award ofpunftive
                                                                                                                  I
 8
 9
     damages in a sum to be shown according to proof pursuant to Califomia Government Code §§12965,
     12970.
                                                                                                                  I
10            1-19. Plaintiff was not aware of the discriminatory conduct in violation ofFEHA until more than     II
11   one year after his tennination. Plaintiff obtained his right to sue letter in compliance with the 90 day
12
13
     period pursuant to Califomia Government Code section 12960(d)(1).
              120. Mr. Haynes has incurred and continues to incur legal expenses and attomey fees which he is
                                                                                                                  I
                                                                                                                  ~.
                                                                                                                  !
14   entitled to recover pursuant to California Government Code §12965.                                           iE
                                                                                                                  ig
15   WHEREFO~,          Plaintiffs pray for relief as set forth below
16                                      ELEVENTH CLAIM FOR RELIEF                                                 t
17
18
                                 Wrongful Termination (Public Policy Violation)
                                          (Against Home Depot USA, Inc.)
                                                                                                                  I
                                                                                                                  !
                                                                                                                  ~
                                                                                                                  i!
19
20
              121. Plaintiff incorporates by reference all the previous paragraphs of this complaint as if more
     fully set forth herein.
                                                                                                                  II
21
22
              122. Plaintiff was hired by Defendant on February 2, 1987. Plaintiff undertook and continued
     employment, and duly perfonned all the conditions of the employment agreement to be performed by the
                                                                                                                  II
                                                                                                                  !
23   Plaintiff. At the time of Plaintiff's tennination, he was ready, willing, and able to perfonn all the
24   conditions of the oral and implied employment agreement to be performed by the Plaintiff.
25            123. Plai~tiffwas not an at-will employee. HD created procedures that were required to be
26   followed before it could tenninate an employee. These procedures were not followed before the Plaintiff
27   was terminated.
28            124. On February 12, 2013 Defendant il1egally tenninated Plaintifffrom his employment because
     COMPLAINT FOR DAMAGES                                 -22-
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 1 of Plaintiffs age, gender, association with those over 40, and engagement in a protected activity. This
 2 termination is in violation of public policy expressed in California Gov't Code §12900 et. seq.
 3               125. Plaintiff was wrongfully terminated in violation ofFEHA.
 4               126. Plaintiff incorporates by reference all the "breach allegations" contained in each of the
 5 above claims for relief as if more fully set fOlth herein.
 6               127. As a direct and proximate result of this wrongful termination in violation of public policy,
 7   Plaintiff was caused to suffer and continues to suffer from humiliation, anxiety, severe emotional
 8 distress, worry, fear, and special damages (including lost wages) all according to proof at the time fo
 9   trial.
10               128. Plaintiff is entitled to damages incident to his wrongful termination and in that regard has
11   been damaged substantially in excess of$100,OOO.OO. The exact amount of damages will be determined
12   at trial.
13               129. Defendant acted arbitrarily, capriciously and maliciously with reckless disreg~rd for the
14   Plaintiff and accordingly the Plaintiff is entitled to punitive damages.
15               130. All actions of Defendant Employer, Defendants, their employees and agents,and each of
16   them as herein alleged, were known, ratified and approved by the officers or managing agents of
17   Defendant Employer, Defendants, and each of them. Therefore, Plaintiff is entitled to punitive or
18   exemplary damages against the Defendant Employer, in an amount to be determined at the time of tria!.
19               131. The Plaintiff has retained an attorney in order to prosecute this action and accordingly is
20   entitled to reasonable attorney fees and costs related to the prosecution of the same.
21               WHEREFORE, Plaintiff prays for relief as set forth below.
22                                          TWELFTH CLAIM FOR RELIEF
23                                     Intentional Infliction of Emotional Distress
24                                                (Against All Defendants)
25               132. Plaintiff incorporates by reference aU the previous paragraphs of this complaint as if more
26   fully set forth herein.
27               133. The co~duct complained of herein above was outside the conduct expected to exist in the
28   workplace, was intentional and malicious and done for the purpose of causing Plaintiff to suffer

     COMPLAIN!' FOR DAMAGES                                  -23-
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                                                                                                                       !
 1   humiliation, mental anguish, and emotional and physical distress. Defendant in confirming and ratifying
 2
 3
     the complained of conduct, was done with the knowledge that Plaintiffs emotional and physical distress
     would thereby increase, and was done with a wanton and reckless disregard of the consequences to
                                                                                                                       I
 4   Plaintiff.
 5               134. As a proximate result of Defendant's intentional infliction of emotional distress as herein
                                                                                                                       I
 6
 7
     above alleged, Plaintiff has been harmed in that Plaintiff has suffered humiliation, mental anguish, and
     emotion~l      and physical distress, and has been injured in mind and health. As a result of said distress and
                                                                                                                       I,
                                                                                                                       !
                                                                                                                       If   i

 8   consequent harm, Plaintiff has suffered such damages in an amount in accordance with proof at time of
                                                                                                                       I
 9   trial.                                                                                                            I    I




10              135. Defendant engaging in the conduct as herein above alleged, acted fraudulently, maliciously,       Ii .
                                                                                                                       ~    I
11   oppressively and with reckless disregard of Plaintiffs rights and safety, and thereby entitling Plaintiff to
12   an award of punitive damages. Defendants, and each of them, authorized, ratified, knew of the wrongful
                                                                                                                       i
13   conduct complained of herein, but failed to take immediate and appropriate corrective action to remedy
                                                                                                                       I
                                                                                                                       I
14   the situation and thereby acted fraudulently, maliciously, oppressively and with reckless disregard of            i
15   Plaintiffs rights and safety, and thereby entitling Plaintiffto an award of punitive damages.                     II
16              WHEREFORE, Plaintiff requests relief as hereinafter provided.
17
18
                                         THIRTEENTH CLAIM FOR RELIEF
                                        Negligent Infliction of Emotional Distress                                     II   I
19                                                (Against All Defendants)
                                                                                                                       I
20

21
                136. Plaintiff incorporates by reference all the previous paragraphs of this complaint as ifmore

     fully set forth herein.
                                                                                                                       i
22              137. In the alternative, if said conduct of Defendant and of its agents and employees was not
                                                                                                                       I'
                                                                                                                       !
23   intentional, it was negligent and Plaintiff is thereby entitled to general damages for the negligent

24   infliction of emotional distress.
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26
              WHEREFORE, Plaintiff requests relief as hereinafter provided.
                                                                                                                       II
27                                                    Prayer for Relief
                                                                                                                       i
28              With respect to the preceding claims for relief, Plaintiff prays for relief as set forth below:

                                                             -24-
                                                                                                                       I
                                                                                                                       I
     COMPLAINT FOR DAMAGES                                                                                             I
Case 3:15-cv-01038-CAB-JLB Document 1-2 Filed 05/08/15 PageID.35 Page 26 of 28




 1           1. That Defendant be ordered to pay to Plaintiff a sum in excess of $1 00,000.00, the exact
 2   amount of which will be proven at the time of trial;
 3           2. That Defendant be ordered to pay to Plaintiff a sum, the exact amount of which will be
 4   proven at the time of trial, for Plaintiff's lost earnings, both past-and future;
 5           3. That Defendant be ordered to pay Plaintiff a sum in excess of$100,000.00, the exact amount
 6   of which will be proven at the time of trial, for Plaintiff's physical and mental pain, and for Plaintiffs
 7 personal property damage;
 8           4. That Plaintiff be awarded exemplary damages, as pennitted by law, as a result of Defend!:U1t
 9 willful and wanton misconduct in a sum in excess of $100,000.00;
10           5. That Plaintiff be awarded the attorneys fees and court costs that Plaintiff incurred in the
11   prosecutIon ofthis Complaint; and
12           6. Such other and further relief as the court may deem just and equitable in the premises.

13
14
15                                                                 Dated this 12th day of February, 2015


                                                                   BY~~
16
17
                                                                   Mirch Law Finn LLP
18                                                                 750 B. St., Suite 2500
                                                                   San Diego, CA 92101
19                                                                 Kevin J. Mirch, BarNo. 106973
                                                                   Marie C. Mirch, Bar No. 200833
20                                                                 Erin E. Hanson, Bar No. 272813

21
22
23
24
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28
     COMPLAINT FOR DAMAGES                                  -25-
Case 3:15-cv-01038-CAB-JLB Document 1-2 Filed 05/08/15 PageID.36 Page 27 of 28
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                                                                                 j
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                                                                                 II
                              Exhibit A                                          I

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Case 3:15-cv-01038-CAB-JLB Document 1-2 Filed 05/08/15 PageID.37 Page 28 of 28


                   STATE OFc\LlFORNIA I Burno", ConrumerSQrvioas lind Hau;lng Agency         GOVERNOR EOMUND G. BROWN JR.
                                                                                                 DIRECTOR PHYLLIS W. CH~NO
                  DEPARTMENT OF FAIR EMPLOYMENT & HOUSING
                  2218 KaWlllJJ Drivo, Suhe 100 I Elk Grove I CA I 95758
                  80~84·1684     I Videophone 916-226·5285 I nY 800·700.2320
                  w\\w.dfeh.ca.gov I omail: conlacl.center@dfeh.c8.90V



  Apr11,2014


  Carl Haynes
  750 B. St., Ste 2500
  San Diego, CA 92101                                                                                                        I
                                                                                                                             !
                                                                                                                              E



  RE: Notice of Case Closure and Right to Sue
      DFEH Matter Number: 237382-100684-R
                                                                                                                             ,
      Right to Sue: Haynes / Home Depot USA, Inc., Service Agent-CSC Lawyers Incor

  Dear Carl Haynes:                                                                                                          I
  This letter informs you that the above-referenced complaint was filed with the Department of Fair Employment
                                                                                                                             I!
  and Housing (DFEH) has been closed effective Apr ii, 2014 because an Immediate Right to Sue notice was
  requested. DFEH will take no further action on the complaint.                                                              !
                                                                                                                             Il
  This letter Is also your Right to Sue notice. According to Government Code section 12965, subdivision (b), a               !
  civil action may be brought under the prOVisions of the Fair employment and Housing Act against the person,                i
  employer. labor organization or employment agency named in the above-referenced complaint. The civil action
  must be filed within one year from the date of this letter.
                                                                                                                             I~
                                                                                                                             ,
  To obtain a federal Right to Sue notice, you must visit the U.S. Equal Employment Opportunity Commision                    I
  (EEOC) to file a complaint within 30 days of receipt of this DFEH Notice of Case Closure or within 300 days of             I
                                                                                                                             ~
  the alleged discriminatory act, whichever is earlier.                                                                      !
  Sincerely,                                                                                                                 I
  Department of Fair EmploYment and Housing


  Enclosures
                                                                                                                             II
  cc: Home Depot USA, Inc. Service Agent-Corporation Servl The Home Depot, Inc                                               1
      Service Agent-Corporation Servi The Home Depot, Inc                                                                    I
      Jeff Grooms Home Depot                                                                                                 !f
      Chris Collins Home Depot
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